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 1   Elizabeth D. MacGregor, WSB #46186
     ElizabethM@theglb.com
 2   Gilbert Levy Bennett
     5400 Meadows Road, Ste. 150
 3
     Lake Oswego, OR 97035
 4   971-312-0660
     Attorneys for Developers Surety and
 5   Indemnity Company

 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   DEVELOPERS SURETY AND                       )
     INDEMNITY COMPANY, a                        )
10   California corporation,                     )    Case No.:
                                                 )
11                         Plaintiff,            )    COMPLAINT FOR DECLARATORY
12                                               )    RELIEF
             v.                                  )
13                                               )    JURY DEMAND
     MICHAEL MCKELVEY COMPANY, LLC, )
14   a Washington State limited liability        )
     company; RICHARD GUSTAV and                 )
15   FRANCES GUSTAV, individually and the )
16   marital community comprised thereof; RIFT )
     CUT CONSTRUCTION, LLC, a                    )
17   Washington State limited liability company; )
     STATE FARM FIRE AND CASUALTY                )
18   COMPANY, an Illinois corporation; and       )
     SAFECO INSURANCE COMPANY OF                 )
19   AMERICA, a New Hampshire corporation, )
20                                               )
                           Defendants.           )
21                                               )

22          For its Complaint against defendants Michael McKelvey Company, LLC (“McKelvey”),
23   Richard Gustav and Frances Gustav, individually and as a marital community (“Gustavs”), Rift
24   Cut Construction, LLC (“Rift Cut”), State Farm Fire and Casualty Company (“State Farm”), and
25   Safeco Insurance Company of America (“Safeco”), plaintiff Developers Surety and Indemnity
26   Company (“Developers”) alleges as follows:

      Page 1 – COMPLAINT FOR DECLARATORY RELIEF
                                                                                  GILBERT | LEVY | BENNETT
                                                                              5400 Meadows Road, Suite 150
                                                                                Lake Oswego, Oregon 97035
                                                                                       Main (971) 312-0660
                                                                                        Fax (971) 312-0235
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 1                                                    Parties

 2           1.      Developers is an insurance company organized under the laws of the State of

 3   California and is authorized to do business in the State of Washington. Developers’ principal

 4   place of business is in the State of California.

 5           2.      State Farm is an insurance company organized under the laws of the State of

 6   Illinois with its principal place of business in the State of Illinois.

 7           3.      Safeco is an insurance company organized under the laws of the State of New

 8   Hampshire with its principal place of business in the State of New Hampshire.

 9           4.      McKelvey is a limited liability company organized under the laws of the State of

10   Washington and at all relevant times was licensed to do business as a general contractor in the

11   State of Washington. Based on information and belief, the members of McKelvey are domiciled

12   in the State of Washington.

13           5.      Rift Cut is a limited liability company organized under the laws of the State of

14   Washington and at all relevant times was licensed to do business as a general contractor in the

15   State of Washington. Based on information and belief, the members of Rift are domiciled in the

16   State of Washington.

17           6.      The Gustavs are a married couple domiciled in King County, Washington, and

18   jointly own property located at 8622 Fauntlee Crest SW, Seattle, Washington 98136.

19                                          Jurisdiction and Venue

20           7.      This court has jurisdiction under 28 U.S.C. Section 1332 in that complete

21   diversity exists between Developers, on the one hand, and the defendants on the other, and the

22   amount in controversy exceeds $75,000.

23           8.      An actual controversy exists between the parties regarding Developers’

24   obligations under certain liability insurance policies that it issued to McKelvey and Rift Cut.

25   Under 28 U.S.C. Section 2201, Developers is entitled to a declaration from this Court regarding

26   those obligations.

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                                                                                       GILBERT | LEVY | BENNETT
                                                                                   5400 Meadows Road, Suite 150
                                                                                     Lake Oswego, Oregon 97035
                                                                                            Main (971) 312-0660
                                                                                             Fax (971) 312-0235
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 1             9.      Under 28 U.S.C. Section 1391, venue is proper in this judicial district as the

 2   Gustavs, McKelvey and Rift Cut reside in this district. In addition, this action involves a dispute

 3   regarding the availability of insurance coverage for damages that allegedly arose from events in

 4   this judicial district.

 5                                                Background

 6             10.     Developers issued McKelvey a commercial general liability policy of insurance

 7   number BIS00024156-03 (“McKelvey Policy”) which was effective from January 6, 2018 to

 8   January 6, 2019. A copy of the policy is attached as Exhibit 1.

 9             11.     Developers issued Rift Cut a commercial general liability policy of insurance

10   number BIS00027694-02 (“Rift Cut Policy”) which was effective from March 22, 2018 to March

11   22, 2019. A copy of the policy is attached as Exhibit 2.

12             12.     State Farm provided casualty insurance to the Gustavs for their property located at

13   8622 Fauntlee Crest SW, Seattle, Washington, 98136 (“Subject Property 1”).

14             13.     Safeco provided casualty insurance to Ann Erickson for her property located at

15   8624 Fauntlee Crest SW, Seattle, Washington 98136 (“Subject Property 2”).

16             14.     At all material times, McKelvey is alleged to have provided general contractor

17   services to conduct a remodel of Subject Property 1.

18             15.     At all material times, McKelvey is alleged to have conducted business under the

19   name Rift Cut.

20             16.     During the course of the remodel work, a fire occurred at Subject Property 1,

21   which spread to Subject Property 2. The fire is alleged to have been caused by the spontaneous

22   combustion of stain-soaked cotton cloths which were left at Subject Property 1 by a painting

23   contractor.

24             17.     The owners of Subject Property 1 submitted a claim to State Farm pursuant to

25   their insurance policy, and State Farm allegedly paid approximately $2.1 million under the

26   policy.

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                                                                                         GILBERT | LEVY | BENNETT
                                                                                     5400 Meadows Road, Suite 150
                                                                                       Lake Oswego, Oregon 97035
                                                                                              Main (971) 312-0660
                                                                                               Fax (971) 312-0235
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 1           18.    The owner of Subject Property 2 submitted a claim to Safeco pursuant to her

 2   insurance policy, and Safeco allegedly paid approximately $17,000 under the policy.

 3           19.    State Farm, Safeco, the Gustavs filed an action against McKelvey, Rift Cut, and

 4   the painting contractor in the Superior Court of the State of Washington, in and for the County of

 5   King (the “Underlying Lawsuit”). A copy of the Complaint filed in the Underlying Lawsuit is

 6   attached as Exhibit 3.

 7           20.    State Farm and Safeco allege in the Underlying Lawsuit that they are legally and

 8   contractually subrogated to all rights and remedies that their insureds may have against

 9   McKelvey and Rift Cut, to the extent of their respective payments made under their insurance

10   policies.

11           21.    The Gustavs allege in the Underlying Lawsuit that they suffered uninsured losses

12   associated with the fire at Subject Property 1, totaling approximately $700,000.

13           22.    The Underlying Lawsuit asserts claims against McKelvey and Rift Cut for

14   negligence and breach of contract.

15           23.    McKelvey and Rift Cut tendered the Underlying Lawsuit to Developers for

16   defense and indemnity.

17           24.    Claims Resource Management, Inc., on behalf of Developers, acknowledged

18   receipt of the tenders, investigated the tenders under full and complete reservations of rights, and

19   retained counsel to defend McKelvey and Rift Cut in the Underlying Lawsuit.

20           25.    Developers seeks a declaration as to its duty to defend and indemnify under the

21   policies issued to McKelvey and Rift Cut.

22                                         CLAIM FOR RELIEF

23                            (Declaratory Relief under 28 U.S.C. Section 2201)

24           26.    Developers incorporates by reference herein the allegations set forth in paragraphs

25   1 through 25 above.

26   ///

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                                                                                       GILBERT | LEVY | BENNETT
                                                                                   5400 Meadows Road, Suite 150
                                                                                     Lake Oswego, Oregon 97035
                                                                                            Main (971) 312-0660
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 1           27.     A present and actual controversy exists regarding the respective rights of

 2   Developers and its insureds under the policies, and Developers’ obligations, if any, to defend and

 3   indemnify its insureds against the Underlying Lawsuit.

 4           28.     Developers seeks and is entitled to a declaration of the rights of the parties

 5   pursuant to Fed. R. Civ. P. 57 and 28 U.S.C. Section 2201.

 6           29.     Developers seeks a legal determination and declaration that it has no duty to

 7   defend or indemnify McKelvey and Rift Cut under the terms, conditions, exclusions and

 8   endorsements contained in its policies, and pursuant to law in relation to the Underlying Lawsuit.

 9           30.     A declaratory judgment is both necessary and proper at this time and does not

10   prejudice McKelvey or Rift Cut in the Underlying Lawsuit. Such a declaration is necessary and

11   appropriate in order for the parties, and each of them, to ascertain their rights and duties under

12   the policies.

13                                     DEMAND FOR JUDGMENT

14           Developers demands that judgment be entered declaring that Developers does not owe

15   any duty to defend or indemnify McKelvey and/or Rift Cut against the claims asserted in the

16   Underlying Lawsuit, awarding Developers costs and expenses, and any other relief the Court

17   deems appropriate.

18           DATED this 22nd day of June, 2021.

19                                                  GILBERT | LEVY | BENNETT
20
                                                    By:    s/Elizabeth D. MacGregor
21
                                                    Elizabeth D. MacGregor, WSB#: 46186
22                                                  E-mail: ElizabethM@theGLB.com
                                                    5400 Meadows Road, Ste. 150
23                                                  Lake Oswego, OR 97035
                                                    Of Attorneys for Developers Surety and Indemnity
24                                                  Company
25                                          Trial Attorney: Elizabeth D. MacGregor, WSB#46186
26

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                                                                                        GILBERT | LEVY | BENNETT
                                                                                    5400 Meadows Road, Suite 150
                                                                                      Lake Oswego, Oregon 97035
                                                                                             Main (971) 312-0660
                                                                                              Fax (971) 312-0235
